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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    NOA E. OREN, #297100
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JAIME SANCHEZ-ROBLES
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7
8                                     UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                     )    Case No. 2:17-cr-102 TLN
                                                   )
11                            Plaintiff,           )    STIPULATION TO CONTINUE STATUS
                                                   )    CONFERENCE; SET FOR CHANGE OF
12           v.                                    )    PLEAAND TO EXCLUDE TIME; ORDER
                                                   )
13   JAIME A. SANCHEZ-ROBLES,                      )    Date: August 16, 2018
                                                   )    Time: 10:00 a.m.
14                            Defendant.           )    Judge: Hon. Troy L. Nunley
                                                   )
15
             By previous order, this matter was set for status on August 16, 2018.
16
             By this stipulation, defendant, Jaime A. Sanchez-Robles, now moves to vacate the status
17
     conference and set the matter for change of plea on August 23, 2018 at 9:30 a.m., and to exclude
18
     time between August 16, 2018 and August 23, 2018 under local code T4.
19
             The reasons for the continuance is that defense requires additional time in advance of the
20
     change of plea to investigate the facts, and to conduct further legal research.
21
             Counsel for defendant Mr. Sanchez-Robles believes that the failure to grant the above-
22
     requested continuance would deny them the reasonable time necessary for effective preparation,
23
     taking into account the exercise of due diligence.
24
             The government does not object to the continuance.
25
             Based upon the foregoing, time under the Speedy Trial Act should be excluded from
26
     August 16, 2018, through and including August 23, 2018, pursuant to 18 U.S.C. §3161 (h)(7)(A)
27
     and (B)(iv) [reasonable time to prepare] and General Order 479, Local Code T4 because it results
28

      Stipulation to Set Change of Plea                -1-
       Case 2:17-cr-00102-TLN Document 54 Filed 08/08/18 Page 2 of 3


1    from a continuance granted by the Court at defendant’s request for continuity of counsel and
2    defense preparation, on the basis of the Court’s finding that the ends of justice served by taking
3    such action outweigh the best interest of the public and the defendant in a speedy trial.
4    IT IS SO STIPULATED.
5    DATED: August 8, 2018                                 Respectfully submitted,
6
                                                           HEATHER E. WILLIAMS
7                                                          Federal Defender

8                                                          /s/ Noa E. Oren
                                                           NOA E. OREN
9
                                                           Assistant Federal Defender
10                                                         Attorney for JAIME SANCHEZ-ROBLES

11   DATED: August 8, 2018                                 MCGREGOR W. SCOTT
                                                           United States Attorney
12
                                                           /s/ Cameron Desmond
13
                                                           CAMERON DESMOND
14                                                         Assistant United States Attorney
                                                           Attorney for Plaintiff
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      Stipulation to Set Change of Plea              -2-
       Case 2:17-cr-00102-TLN Document 54 Filed 08/08/18 Page 3 of 3


1                                                       ORDER
2            The Court, having received, read, and considered the parties’ stipulation, and good cause
3    appearing therefrom, IT IS HEREBY ORDERED that the Court adopts the parties’ stipulation in
4    its entirety as its order. The Court specifically finds the failure to grant a continuance in this case
5    would deny defense counsel reasonable time necessary for effective preparation, taking into
6    account the exercise of due diligence. The Court finds the ends of justice are served by granting
7    the requested continuance and outweigh the best interests of the public and the defendants in a
8    speedy trial.
9            The Court orders the time from August 16, 2018, up to and including August 23, 2018,
10   shall be excluded from computation of time within which the trial of this case must be
11   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7)(A) and(B)(iv)
12   [reasonable time for defense counsel to prepare] and General Order 479, (Local Code T4)
13   [defense counsel’s preparation]. It is further ordered the August 16, 2018 status conference shall
14   be vacated and a change of plea set for August 23, 2018, at 9:30 a.m.
15
16   Dated: August 8, 2018
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18                                                             Troy L. Nunley
                                                               United States District Judge
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      Stipulation to Set Change of Plea                -3-
